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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                  :

                 -against-                                 :         06 Cr. 911 (WHP)

DERRILYN NEEDHAM                                           :         ORDER

                                    Defendants.             :
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WILLIAM H. PAULEY III, United States Senior District Judge:
                 This Court is in receipt of defendant’s letter dated October 10, 2020 (ECF # 322),
raising issues with her continued detention at the Federal Transit Center in Oklahoma and her
medical concerns. The U.S. Attorney’s Office is directed to follow up on these issues with the
Bureau of Prisons and provide a report to the Court by October 27, 2020. A copy of this order is
being mailed to the defendant by Chambers.

Dated: October 20, 2020
       New York, New York
